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 6                                    UNITED STATES DISTRICT COURT

 7                                           DISTRICT OF NEVADA

 8                                     ***
                                       )
 9   UNITED STATES OF AMERICA,         )
                                       )
10                Plaintiff,           )                      3:08-CR-0006-LRH-RAM
                                       )                      3:08-CR-0066-LRH-RAM
11   v.                                )
                                       )
12   DARIN JEROME FRENCH, and JENNIFER )                      ORDER
     LYNN FRENCH, aka JENNIFER THOMAS )
13                                     )
                  Defendants.          )
14                                     )

15          Before the court is the United States’ motion to unseal and release defendants’ financial

16   affidavits filed on June 21, 2010. Doc. #128.1 Defendants Darin Jerome French and Jennifer Lynn

17   French filed an opposition (Doc. #129) to which the government replied (Doc. #131).

18          The United States requests the court issue an order unsealing and releasing to the

19   government Darin and Jennifer’s financial affidavits submitted in the matter of United States v.

20   Darin Jerome French and Jennifer Lynn French, case no. 3:08-cr-0006-LRH-RAM (“French I”),

21   and unsealing and releasing to the government Darin’s financial affidavit submitted in the matter of

22   United States v. Darin Jerome French, case no. 3:08-cr-0066-LRH-RAM (“French II”). Doc. #128.

23   The government contends that the unsealing of the aforementioned financial affidavits is essential

24   to investigate potential violations of 18 U.S.C § 1621 (perjury) and 18 U.S.C. § 1623 (false

25

26          1
                Refers to the Court’s docket number.
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 1   declarations before the grand jury).

 2          In opposition, defendants argue that the unsealing of financial affidavits implicates Fifth

 3   Amendment concerns where the information provided by a defendant is likely to be used to prove

 4   the charges against him. See e.g., U.S. v. Hickey, 185 F.3d 1064 (9th Cir. 1999). Here, the court

 5   finds that there is no implication of defendants’ Fifth Amendment rights because the information

 6   sought by the government does not relate to the substance of the pending charges. Rather, the

 7   information is sought for the purpose of determining whether the defendants committed the

 8   unrelated and separate crimes of perjury and making false statements to the court. Therefore, the

 9   relevance of the financial affidavits is to the investigation of new potential criminal charges.

10          The court has reviewed the documents and pleadings on file in this matter and finds that the

11   government has shown good cause for the unsealing and release of the aforementioned financial

12   affidavits regardless of the ultimate success of its pending investigation. Accordingly, the court

13   shall grant the government’s motion.

14

15          IT IS THEREFORE ORDERED that the United States’ motion to unseal and release

16   defendants’ financial affidavits (Doc. #128) is GRANTED. .

17          IT IS FURTHER ORDERED that the clerk of court shall UNSEAL and RELEASE to the

18   government Darin Jerome French and Jennifer Lynn French’s financial affidavits filed in case no.

19   3:08-cr-0006-LRH-RAM, and Darin Jerome French’s financial affidavit filed in case no. 3:08-cr-

20   0066-LRH-RAM.

21          IT IS SO ORDERED.

22          DATED this 20th day of July, 2010.

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24                                                               _________________________________
                                                                 LARRY R. HICKS
25                                                               UNITED STATES DISTRICT JUDGE

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